                                                              UNITED STATES BANKRUPTCY COURT
                                                                  Eastern District of Wisconsin
In re:        Netwurx, Inc.                                                                                     Case No.       08-26131

                                                                                                              Chapter    11


                                                     BUSINESS INCOME AND EXPENSES
                           FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business
operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

          1. Gross Income For 12 Months Prior to Filing:                                              $       2,163,756.23

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

          2. Gross Monthly Income:                                                                                                   $    179,285.76

PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

          3. Net Employee Payroll (Other Than Debtor)                                                 $          44,362.00
          4. Payroll Taxes                                                                                              0.00
          5. Unemployment Taxes                                                                                         0.00
          6. Worker's Compensation                                                                                      0.00
          7. Other Taxes                                                                                          8,203.86
          8. Inventory Purchases (Including raw materials)                                                              0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                     0.00
         10. Rent (Other than debtor's principal residence)                                                      11,528.52
         11. Utilities                                                                                            1,212.08
         12. Office Expenses and Supplies                                                                         3,888.10
         13. Repairs and Maintenance                                                                              2,900.00
         14. Vehicle Expenses                                                                                       923.66
         15. Travel and Entertainment                                                                             3,554.05
         16. Equipment Rental and Leases                                                                                0.00
         17. Legal/Accounting/Other Professional Fees                                                             2,672.08
         18. Insurance                                                                                            1,201.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                                     3,606.24
         20. Payments to Be Made Directly By Debtor to Secured Creditors For
                   Pre-Petition Business Debts (Specify):
                   Dan Spangler                                                                                   5,000.00
                   GE Capital                                                                                     3,099.00
                   SBA 1 Acct. 100357182                                                                          3,299.36
                   SBA 2 Acct. 100360150                                                                          3,628.94
                   SBA 3 Acct. 100372070                                                                          4,918.94
                   IDC (Kiernan, Kiernan, Wenzler & Fowler)                                                      12,000.00




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21. Other (Specify):

         Cardservices, International                                          588.18
         Discover Business Services                                            98.44
         First Bank Financial Centre                                           89.40
         Merchant Bankcard                                                     65.71
         Accounting                                                           547.08
         Legal                                                                500.00
         Authorizenet                                                         194.23
         DIP                                                                 1,625.00
         Cardservice International                                           4,783.34
         Cogent                                                              2,500.00
         Global Pops                                                         3,000.00
         Spoon River Info Ramp                                                110.00
         Webcelerate                                                           57.33
         Time Warner Cable Business Class                                    4,500.00
         Wireless network                                                    2,000.00
         Office computers                                                     150.00
         Core Network                                                         750.00
         Meals & entertainment                                                200.00
         Domains and CS                                                       500.00
         Expense reports                                                     3,354.05
         WSLD                                                                 200.00
         City of Watertown                                                    400.00
         Direc Link Tower, LLC                                                100.00
         Global Tower Partners lsb, ern                                      2,000.00
         Gigahertz                                                            582.27
         Hustisford Utilities                                                 208.08
         K & S Golf                                                           500.00
         SATCOM, LLC                                                          750.00
         Satellie Communications                                               20.30
         SBA Structures, Inc.                                                 900.00
         Viking Communications                                               1,267.20
         WE Energies                                                           62.70
         WE Energies Hartland                                                  55.00
         Allar Unlimited, Inc.                                                375.46
         Century Springs                                                       72.62
         City of Hartford Treasurer                                           197.61
         City of Hartford Utility Dept.                                       895.08
         John Anderson Lock Service                                              8.80
         White Elephant                                                      2,700.00
         WE Energies                                                          317.00
         SBC                                                                  105.86
         Sprint                                                              1,034.10
         TDS                                                                 1,565.04
         Wisconsin Dept. of Revenue                                          8,000.00


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             Corp. filings                                                                    6.25
             Travelers Ins.                                                               1,201.00
             Refunds                                                                       500.00
             Wisconsin Dept. of Transportation                                              13.75
             Westside Auto Center, LLC                                                        0.00
             Pro Auto Center                                                               802.47
             D&D Muffler & Tire                                                            107.44
             Business Technologies, Inc.                                                    25.17
             Kmart                                                                          47.76
             Office Max                                                                    101.27
             Pitney Bowes                                                                     0.00
             Purchase Power                                                                   0.00
             Quill Corporation                                                              19.81
             US Postal Service                                                             464.54
             Yellow Book / Madison                                                         190.23
             Yellow Book IL                                                                395.31
             Washington Co. Fair Park                                                       98.86
             Authorizenet                                                                   38.23
             Cardmember Service                                                            383.98
             American Registry for Internet No.                                            187.50
             AT&T                                                                        16,877.80
             AT&T CABS                                                                   11,972.10
             AT&T Whitewater Fiber                                                        2,652.00
             Cogent                                                                       2,700.00
             Solunet                                                                        33.17
             Sprint                                                                        108.00

    22. Total Monthly Expenses (Add items 3 - 21)                                                    $   202,854.35

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

    23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                    $   (23,568.59)




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